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UNlTED S'¥'ATES BANKRUPTC¥ COURT
SOUTHERN EJISTRICT OF FLOREDA
MlA¥\lll DlVESION

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EN RE: Cese No. 11»35737-RAM
Chapter 13

Heidy Kenie Reyes,

Debtor.

NIOT!ON TO VALUE AND DETERNHNE SECURED STATUS OF L.!EN
Ol\i REAL PROPERTY

lMPORTANT NOT|CE TO CREDITORS:
TH}S ¥S A MOTION TO VALUE YOUR COLLATERAL

“¥°his Motion seeks to value collateral described below securing the claim of
the creditor listed below.

 

iF 'YOU DlSPUTE THE VALUE ALLEGED OR TREATMENT OF YOUR CLAlM
PROPOSED IN THES MOTION, YOU MUST FILE A WRI'ITEN OBJEC`{lON NO
LATER THA¥\| TWO BBS|NESS DAYS PR|OR TO THE SCHEDULED HEARING

|SEE LOCAL RULE 3015-3|A1[2[f

lf you have not filed a proof of claim, you have until the later of the claims bar
date or 21 days from the date this N£otion was served upon you to file a proof
of claim or you will be deemed to have waived the right to payment of any
unsecured claim to which you might otherwise be entitled. [See Local Ruie
301 5-3(A)(4)]

1. Pursuent to 11 U.S.C. §505, Banl<ruptcy Rule 3012, Local Rule 3015»3, the debtor seeks to value
real property Securing the claim of BANK OF AMER§CA HOEVIE LOANS SERV|CING FOR THE
BENEF|T OF SOUTH ATLANT¥C MORTGAGE CORPORATFON (the “Lencier”). Lender holds a
let mortgage recorded__on“llsz/ZOOG in OR Bool< 25122 Page(s) 0841-865 in the official

records of Nliemi~Dade County Florida.

2. The real property' ls located at 6740 NW 'l'/'S‘h Lane Unit 20 C |V!iami Florida 33015 and is more

particularly described as follows:

CONDOM|N!UM UNET C, BU|LDING 20, ANT|GUA AT COUNTRY CLUB OF NllAMl, A CONDOM|NIUM,
TOGETHER WlTH AN UND!VIDED iNTEREST lN THE COMMON ELEMENTS, ACCORDING TO THE
DECL.ARAT¥ON OF CONDON|IN|UM THEREOF RECORDED lN OFFlClAL RECORD BOOK 24515,
PAGE 2242, AS A¥V|ENDED FROM TIME TO TEME, OF THE PUBL|C RECORDS OF MIAM¥-

DADE COUNT¥, FLOR|DA.

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3. At the time of the filing of this case, the value of the real property is §35,020.00 as determined by
An Appraiser and |Vlarl<et Con'lr)arab|es.

4. Lender's lien on the real property is senior to priority to any other |iens.
5. (Select only one):

l..ender’s collateral consists solely of the debtors principal residence As there is no
equlty in the real property after payment in full of the claims secured by liens senior to
that of Lender, the value of Lender’s secured interest in the real property is $O.

X Lender’s collateral is not solely the debtor’s principal residence After payment in full
of the claims secured by liens senior to that of Lender, there is equity of §35,020.00
remaining in the real property Accordingly, the value of l.ender’s secured interest in
the real property is §35,020.00 and the value of the l.ender’s unsecured, deficiency

claim is §90}862.40.

6. The undersigned reviewed the docket and claims register and states (se|ect only one):

M)§_m i_ender has not filed a proof ot claim in this case The trustee shall not
disburse any payments to Lender unless a proof cf claim is timely
flied. in the events proof of claim is timely filed, lt shall be classified
as a secured ciairn to the extent provided in paragraph 5, above, and
as a general unsecured claim for any deficiency, regardless of the
original classification in the proof of claim as filed. Lender’s secured
claim shall be paid through the plan at 5.25% and for a total of

§39,893.36.

Ol'

Lender filed a proof of claim in this case. lt shall be classified as a
secured claim to the extent provided tn paragraph 5, ahove, and as a
general unsecured claim for any deficiency, regardless of the
original classification in tire proof of clalm. Lender’s secured

claim shall be paid through the plan at and for a totai of
§ _
7. The subject real property may not be sold or refinanced without proper notlce

and further order of the court.

VVHEREFORE, the debtor respectfully requests an order cl the Court (a) determining the value
of the real property in the amount asserted in this lV|otion, (b) determining the secured status of the
l.ender’s lien as stated above, (c) determining that any timely filed proof of claim is classified as stated
above, (d) if Lender‘s secured interest in the real property is determined to be $0, deeming Lender’s
mortgage on the real property void and extinguished automatically without further order of the Court,
upon entry of the debtor’s discharge in this chapter 13 case, and (e) providing such other and further
relief as is just

NOT|CE lS HEREBY GIVEN THAT;

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‘l. ln accordance with the rules of this Court, unless an objection is filed with the Court and served
upon the debtor, the debtors attorney, and the trustee at least two (2) business days prior to the
hearing scheduled on this lVlotion, the value of the collateral may be established at the amount
stated above without further notice, hearing or order of the Court. F’ursuant to Local Rule 3015-3,
timely raised objections will be heard at the hearing scheduled on the l\)lotion.

2. The undersigned acknowledges that this Nlotion and the notice of hearing thereon must be
served pursuant to Banl<ruptcy Ruie 7004 and Local Rule 3015~3 at least 21 days prior to the
hearing date and that a certificate of service must be iiied when the Nlotion and notice ot hearing

thereon are served

Submitted by:

/s/ Andres ivlontejo
Andres Nlonte]o 659428

Address: 6l57 NW 'l67 Street Suite F-21
|Vliami, FL 330i5,

Pnone: 305-817~3677

Ernail: amontejo@andresrnonte}olaw.com

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